                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:15-cr-213-MOC-DSC-13

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                            ORDER
DONALD DODT,                           )
                                       )
                  Defendant.           )
_______________________________________)

      THIS MATTER is before the Court on defendant’s pro se Motion for Compassionate

Release/Reduction of Sentence, (Doc. No. 582).

                                          ORDER

       IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to defendant’s motion.



                                                 Signed: November 4, 2020




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